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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 15-742V
                                    Filed: February 23, 2016
                                         UNPUBLISHED

****************************
KELLIE M DIPIETRO,                     *
                                       *
                   Petitioner,         *      Joint Stipulation on Damages;
                                       *      Influenza;
                                       *      Shoulder Injury (“SIRVA”);
SECRETARY OF HEALTH                    *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
Leah Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for petitioner.
Lara Englund, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

       On July 16, 2015, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 [the “Vaccine
Act”]. Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following receipt of her October 17, 2014 influenza vaccination.
Petition at 1; Stipulation, filed 2/23/2016, ¶ 4. Petitioner further alleges that she
experienced the residual effects of her injury for more than six months and that there
has been no prior award or settlement of a civil action for damages as a result of her
condition. Petition at 4; Stipulation¶¶ 4-5. “Respondent denies that the flu vaccine is
the cause of petitioner’s alleged SIRVA or any other injury or her current condition ”
Stipulation, ¶ 6.

       Nevertheless, on February 23, 2016, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

        The parties stipulated that petitioner shall receive the following compensation:

        A lump sum of $133,106.47 in the form of a check payable to petitioner.
        Stipulation, ¶ 8. This amount represents compensation for all items of damages
        that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

KELLIE M. DIPIETRO,                                  )
                                                     )
                        Petitioner,                  )
                                                     )
       v.                                            ) No. 15-742V
                                                     ) Chief Special Master Nora Dorsey
SECRETARY OF                                         )
HEALTH AND HUMAN SERVICES,                           )
                                                     )
                        Respondent.                  )
                                                     )

                                            STIPULATION

       The parties hereby stipulate to the following matters:

       1. Petitioner Kellie M. DiPietro (“petitioner”) filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the

“Vaccine Program”). The petition seeks compensation for injuries allegedly related to

petitioner’s receipt of the influenza (“flu”) vaccine, which vaccine is contained in the Vaccine

Injury Table (the “Table”), 42 C.F.R. § 100.3 (a).

       2. Petitioner received a flu vaccine on or about October 17, 2014.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that the flu vaccine caused her to develop a shoulder injury related

to vaccine administration (“SIRVA”) and that she experienced residual effects of this injury for

more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.

       6. Respondent denies that the flu vaccine is the cause of petitioner’s alleged SIRVA or

any other injury or her current condition.
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        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $133,106.47 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys’ fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.




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       12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys’ fees and litigation costs and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

       13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on October 17, 2014, as

alleged by petitioner in a petition for vaccine compensation filed on or about July 16, 2015, in

the United States Court of Federal Claims as petition No. 15-742V.

       14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

       15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.



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       16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner’s alleged SIRVA

or any other injury or her current condition.

       18. All rights and obligations of petitioner hereunder shall apply equally to petitioner’s

heirs, executors, administrators, successors, and/or assigns.

                                    END OF STIPULATION
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